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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    ROANOKE DIVISION

LINDA TRAIL,                                          )
                                                      )      Civil Action No. 7: 18CV00645
         Plaintiff,                                   )
                                                      )
v.                                                    )      ORDER OF DISMISSAL
                                                      )
LT. KAYLA STULTZ,                                     )
                                                      )      By: Hon. Glen E. Conrad
         Defendants.                                  )      Senior United States District Judge

         The court has before it the plaintiffs notice of dismissal.in this case filed pursuant to

Rule 41(a)(l)(A)(i) of the Federal Ru1es of Civil Procedure.

         It is accordingly,

                                         ADJUDGED and ORDERED

that the above-styled matter is DISMISSED without prejudice, and this case is stricken from the

active docket of this court.

         The Clerk is hereby directed to send a certified copy of this order to all counsel of record.
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                 Enter this ,,....
                                     L    day of February, 2019.




                                                    Senior United States District Judge
